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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

  MATTHEW FOOSANER,

                         Plaintiff,

         v.                                         Case No. 1:22-cv-521-RDA-TCB

  CROWN CASTLE USA, Inc.,

                         Defendant.


                         ANSWER AND AFFIRMATIVE DEFENSES
                             TO AMENDED COMPLAINT

        Defendant Crown Castle USA, Inc. (“Crown Castle”), by and through its attorneys,

 respectfully submits this Answer and Affirmative Defenses to Plaintiff’s Amended Complaint.

                       RESPONSE TO PLAINTIFF’S ALLEGATIONS

        1.      Defendant admits that the Amended Complaint purports to set forth a single claim

 for retaliation under the Defense Contractor Whistleblower Protection Act, 10 U.S.C. § 4701 et

 seq. Defendant denies that Plaintiff’s claim has merit and denies the remaining allegations of

 paragraph 1 of the Amended Complaint.

        2.      Defendant admits Mr. Foosaner is an individual. Defendant lacks sufficient

 knowledge or information to form a belief about the truth of the remaining allegations in paragraph

 2 of the Amended Complaint and, accordingly, denies the same.

        3.      Defendant denies the allegations in paragraph 3 of the Amended Complaint.

        4.      Defendant admits it is a company that owns, operates, and leases shared

 communications infrastructure throughout the United States. Defendant admits that it has, at

 certain times relevant to the Complaint, provided high-speed fiber optic cable circuits for the
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 benefit of the United States government under contracts subject to certain Federal Acquisition

 Regulations and security requirements. Plaintiff’s allegations regarding the application of specific

 United States laws and regulations to particular contracts sets forth a legal conclusion to which no

 answer is required; to the extent an answer may be required, Defendant denies those allegations.

 Defendant denies the remaining allegations in paragraph 4 of the Amended Complaint.

          5.      Defendant admits that its website contains the statement, “We also know how to

 get started quickly by working directly through procurement and existing contract vehicles, such

 as DISA/DITCO and BPA.”1 Defendant denies the remaining allegations in paragraph 5 of the

 Amended Complaint.

          6.      Paragraph 6 of the Amended Complaint states a conclusion of law to which no

 answer is required. To the extent an answer may be required, Defendant denies the allegations in

 paragraph 6 of the Amended Complaint.

          7.      Admitted.

          8.      Defendant admits this Court has personal jurisdiction over the Defendant and that

 the Eastern District of Virginia is a proper venue for this action. Defendant denies the remaining

 allegations in paragraph 8 of the Amended Complaint.

          9.      Defendant admits that the Eastern District of Virginia is an appropriate federal court

 venue for this action. Defendant denies the remaining allegations in paragraph 9 of the Amended

 Complaint.

          10.     Defendant admits Plaintiff has exhausted the administrative remedies applicable to

 his claim under the Defense Contractor Whistleblower Protection Act. Defendant denies the

 remaining allegations in paragraph 10 of the Amended Complaint.



 1
     https://www.crowncastle.com/industries/federal-government (accessed September 12, 2023).

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        11.     Defendant admits that on April 17, 2019, counsel for Plaintiff transmitted a letter

 titled “DOD Hotline Whistleblower Reprisal Complaint” by facsimile to the Department of

 Defense Office of Inspector General (“OIG”). Defendant denies the remaining allegations in

 paragraph 11 of the Amended Complaint.

        12.     Denied.

        13.     Defendant lacks sufficient knowledge or information to form a belief about the truth

 of the allegations in paragraph 13 of the Amended Complaint and, accordingly, denies the same.

        14.     Admitted that on December 3, 2019, Plaintiff gave a sworn, recorded interview to

 the OIG during which he discussed certain allegations relating to his reprisal complaint. Defendant

 denies the remaining allegations in paragraph 14 of the Amended Complaint.

        15.     Defendant admits that on or about May 13, 2020, OIG issued a letter to Plaintiff’s

 counsel concluding he had not engaged in protected activity under the Defense Contractor

 Whistleblower Protection Act and closing his complaint. Defendant denies the remaining

 allegations of paragraph 15 of the Amended Complaint.

        16.     Admitted that Plaintiff filed this action within two years after May 13, 2020, the

 date on or about which OIG issued its closure letter. Defendant denies the remaining allegations

 of paragraph 16 of the Amended Complaint.

        17.     Defendant admits that on or about October 2, 2018, Plaintiff applied for the position

 of Director Federal Sales at Light Tower. Defendant denies the remaining allegations of paragraph

 17 of the Amended Complaint.

        18.     Defendant admits that Plaintiff participated in a pre-hire interview with Michelle

 Kavey (then Head of Government and Education) during which they discussed Defendant’s

 business with federal government agencies and its compliance with relevant federal regulations.



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 Defendant lacks sufficient knowledge or information at this time to form a belief about the truth

 of the remaining allegations in paragraph 18 of the Amended Complaint and, accordingly, denies

 the same.

        19.     Defendant admits that Plaintiff participated in a pre-hire interview with Ms. Kavey

 during which they discussed Defendant’s business with federal government agencies and its

 compliance with relevant federal regulations. Defendant lacks sufficient knowledge or information

 at this time to form a belief about the truth of the remaining allegations in paragraph 19 of the

 Amended Complaint and, accordingly, denies the same.

        20.     Defendant admits that Plaintiff participated in a pre-hire interview with Ms. Kavey

 during which they discussed Defendant’s business with federal government agencies and its

 compliance with relevant federal regulations. Defendant lacks sufficient knowledge or information

 at this time to form a belief about the truth of the remaining allegations in paragraph 20 of the

 Amended Complaint and, accordingly, denies the same.

        21.     Defendant admits that, in connection with Plaintiff’s application to become the

 Director of Federal Sales, it asked him to present a “Case Study” showcasing how he would

 approach the role. Plaintiff presented that case study on October 16, 2018. Defendant lacks

 sufficient knowledge or information at this time to form a belief about the truth of the remaining

 allegations in paragraph 21 of the Amended Complaint and, accordingly, denies the same.

        22.     Defendant admits Plaintiff presented a 20-page “case study” on October 16, 2018,

 and the last page of his presentation included general references to “mandatory compliance

 requirements” under the Federal Information Security Management Act (FISMA) of 2002 and

 DFAR 252.204-7012. Defendant denies any implication that Plaintiff made disclosures in this

 interview that were protected by the Defense Contractor Whistleblower Protection Act. Defendant



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 lacks sufficient knowledge or information at this time to form a belief about the truth of the

 remaining allegations in paragraph 22 of the Amended Complaint and, accordingly, denies the

 same.

         23.    Defendant lacks sufficient knowledge or information to form a belief about what

 Plaintiff means by the term “RMO,” and on this basis denies the allegations in paragraph 23 of the

 Amended Complaint. Additionally, Defendant expressly denies any implication that Plaintiff made

 disclosures in this meeting that were protected by the Defense Contractor Whistleblower

 Protection Act.

         24.    Paragraph 24 of the Amended Complaint sets forth a legal conclusion to which no

 answer is required. To the extent an answer may be required, Defendant denies the allegations in

 paragraph 24 of the Amended Complaint.

         25.    Defendant admits that on November 7, 2018, Mr. Foosaner was offered and

 accepted the position of Director Federal Sales for Light Tower Management, Inc. Defendant

 denies the remaining allegations of paragraph 25 of the Amended Complaint.

         26.    Defendant admits Plaintiff began working for Light Tower on November 26, 2018.

 Defendant lacks sufficient knowledge or information at this time to form a belief about the truth

 of the remaining allegations in paragraph 26 of the Amended Complaint and, accordingly, denies

 the same.

         27.    Defendant lacks sufficient knowledge or information to form a belief about the truth

 of Plaintiff’s allegation regarding his state of mind and, accordingly, denies the allegations in

 paragraph 27 of the Amended Complaint.




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        28.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 28 of the Amended Complaint and, accordingly,

 denies the same.

        29.    Defendant admits Plaintiff attended a team meeting on November 27, 2018, during

 which he suggested Defendant could not make certain sales if DISA was the end customer because,

 in his view, Defendant did not have the proper framework in place to comply with allegedly

 applicable federal regulations. Defendant expressly denies any implication that Plaintiff made

 disclosures in this meeting that were protected by the Defense Contractor Whistleblower

 Protection Act. Defendant lacks sufficient knowledge or information to form a belief about what

 Plaintiff means by the term “RMO,” and on this basis denies the allegations the second sentence

 of paragraph 29 of the Amended Complaint. Defendant lacks sufficient knowledge or information

 at this time to form a belief about the truth of the allegations in paragraph 29 of the Amended

 Complaint and, accordingly, denies the same.

        30.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 30 of the Amended Complaint and, accordingly,

 denies the same.

        31.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 31 of the Amended Complaint and, accordingly,

 denies the same.

        32.    Defendant admits that Plaintiff attended a meeting on December 4, 2018, but denies

 any implication he made disclosures in this meeting that were protected by the Defense Contractor

 Whistleblower Protection Act. Defendant lacks sufficient knowledge or information at this time to




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 form a belief about the truth of the allegations in paragraph 32 of the Amended Complaint and,

 accordingly, denies the same.

        33.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 33 of the Amended Complaint and, accordingly,

 denies the same.

        34.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 34 of the Amended Complaint and, accordingly,

 denies the same.

        35.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 35 of the Amended Complaint and, accordingly,

 denies the same.

        36.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 36 of the Amended Complaint and, accordingly,

 denies the same.

        37.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 37 of the Amended Complaint and, accordingly,

 denies the same.

        38.    Defendant lacks sufficient knowledge or information at this time to form a belief

 about the truth of the allegations in paragraph 38 of the Amended Complaint and, accordingly,

 denies the same.

        39.    Defendant denies that Plaintiff’s termination, or the timing of his termination, was

 causally related in any way to any DISA meeting or to any alleged protected activity under the

 Defense Contractor Whistleblower Protection Act. Defendant lacks sufficient knowledge or



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 information at this time to form a belief about the truth of the allegations in paragraph 39 of the

 Amended Complaint and, accordingly, denies the same.

         40.     Defendant admits that Ms. Kavey and Ms. Sax notified Plaintiff of his termination

 on December 7, 2018. Defendant admits that Plaintiff engaged in unprofessional conduct during

 his brief period of employment with Defendant. Defendant lacks sufficient knowledge or

 information at this time to form a belief about the truth of the remaining allegations in paragraph

 40 of the Amended Complaint and, accordingly, denies the same.

         41.     Defendant incorporates and reasserts its answers to paragraphs 1-40 of the

 Amended Complaint as if fully set forth herein.

         42.     Denied.

         43.     Denied.

         44.     Denied.

         45.     Denied.

         46.     Denied.

         47.     Denied.

         48.     Denied.

         49.     Denied.

         50.     To the extent paragraph 50 of the Amended Complaint is construed as an allegation

 that Plaintiff is entitled to a trial by jury on all issues in this litigation, it states a conclusion of law

 to which no response is required. To the extent a response may be required, Defendant denies the

 obligations in paragraph 50 of the Amended Complaint.




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        Defendant denies that Plaintiff is entitled to any relief whatsoever, including the relief

 specifically sought in the Complaint and denies the allegations in the “Prayer for Relief” paragraph

 of the Complaint.

                          AFFIRMATIVE AND OTHER DEFENSES

        Without assuming any burden of proof that would otherwise rest with Plaintiff under

 applicable law, Defendant asserts the following affirmative and other defenses:

        1.      Plaintiff did not engage in protected activity under the Defense Contractor

 Whistleblower Protection Act.

        2.      Plaintiff’s claim is barred to the extent it exceeds the scope of the administrative

 complaint he filed with the Department of Defense Office of Inspector General.

        3.      To the extent Plaintiff engaged in protected activity under the Defense Contractor

 Whistleblower Protection Act, that activity was not the but-for cause of his termination of

 employment.

        4.      Plaintiff’s termination of employment was justified by lawful, non-discriminatory,

 non-retaliatory, and non-pretextual business reasons.

        5.      Plaintiff’s remedies are barred in whole or in part by the equitable doctrines of

 laches, waiver, estoppel, and/or unclean hands.

        6.      Any injuries suffered by Plaintiff were caused by his own conduct.

        7.      Plaintiff is not entitled to a back or front pay award because he suffered no

 economic damage.

        8.      Without conceding that Plaintiff has suffered any damages as a result of any alleged

 wrongdoing by Defendant, Plaintiff has failed to mitigate his claimed damages. To the extent




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 Plaintiff has mitigated his damages, Defendant is entitled to offset any liability by the amounts he

 has earned.

        Defendant reserves the right to amend this Answer and Affirmative Defenses to assert

 additional defenses as additional information about Plaintiff’s claim becomes known.

                            DEFENDANT’S PRAYER FOR RELIEF

        Defendant requests that the Court dismiss Plaintiff’s claim with prejudice, enter final

 judgment in favor of Defendant, award Defendant such fees and costs as it may be entitled to

 recover, and award such other relief as the Court deems proper and just.

        Dated: August 15, 2023                        Respectfully submitted,

                                                      OGLETREE, DEAKINS, NASH,
                                                      SMOAK & STEWART, P.C.

                                                      /s/
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                                                      Counsel for Defendant




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                                CERTIFICATE OF SERVICE
        I HEREBY certify that on August 15, 2023, I filed the foregoing with the Court via the

 Court’s electronic CM/ECF filing system, which sent a copy to all counsel of record.


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                                                 SMOAK & STEWART, P.C.

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